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                                                                                Gregory S. Milligan, Receiver
                                                                           P.O. Box 90099 Austin, TX 78709‐0099
                                                                                      (512) 892‐0803
                                                  STANDARDIZED FUND ACCOUNTING REPORT for Kevin B. Merrill et. al. ‐ Cash Basis
                                                                        Receivership/ Civil Court Docket No. RDB‐18‐2844
                                                                          Reporting Period 04/01/2022 to 06/30/2022
                                                                                                                                                                      09/13/2018 to
FUND ACCOUNTING:                                                                                                   04/01/2022 to 06/30/2022                            06/30/2022
                                                                                                                  Deville Asset
                                                                                                Receivership   Management and
                                                                                                 Accounts      Riverwalk Holdings     Subtotal        Grand Total      Case Total
Line 1        Beginning Balance:                                                                 48,812,762.76      10,446,520.69                                      1,069,874.04

              Increases in Fund Balance:
Line 2        Business Income                                                                          2,332.17                                                        29,172,273.64
Line 3        Cash and Securities                                                                                                                                       8,477,965.35
Line 4        Interest / Dividend Income                                                               2,564.83                                                           159,409.56
Line 5        Business Asset Liquidation                                                                                                                               19,865,106.17
Line 6        Personal Asset Liquidation                                                             145,000.00                                                        24,390,521.61
Line 7        Third‐Party Litigation Income                                                        2,343,000.00                                                         2,708,696.04
Line 8        Miscellaneous ‐ Other                                                                                                                                     4,500,000.00
                Total Funds Available (Lines 1 ‐ 8):                                              51,305,659.76       10,446,520.69   61,752,180.45                    90,343,846.41

              Decreases in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for Receivership Operations
  Line 10 a Disbursements to Receiver or Other Professionals                                                                                                            5,942,533.32
  Line 10 b Business Asset Expenses                                                                   12,562.37             1377.63                                    15,640,395.12
  Line 10 c Personal Asset Expenses                                                                   28,839.48                                                         2,421,517.00
  Line 10 d Investment Expenses                                                                                                                                         4,630,000.00
  Line 10 e Third‐Party Litigation Expenses
               1. Attorney Fees
               2. Litigation Expenses                                                                  2,600.00                                                             2,600.00
              Total Third‐Party Litigation Expenses                                                                                              ‐                               ‐
  Line 10 f Tax Administrator Fees and Bonds
  Line 10 g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                                         44,001.85            1,377.63       45,379.48                    28,637,045.44
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
  Line 11 a Distribution Plan Development Expenses:
               1. Fees:
                    Fund Administrator
                    Independent Distribution Consultant (IDC)
                    Distribution Agent
                    Consultants
                    Legal Advisers
                    Tax Advisers
                 2. Administrative Expenses
                 3. Miscellaneous
                 Total Plan Development Expenses                                                                                                 ‐                               ‐
 Line 11 b       Distribution Plan Implementation Expenses:
                 1. Fees:
                    Fund Administrator
                    IDC
                    Distribution Agent
                    Consultants
                    Legal Advisers
                    Tax Advisers
                 2. Administrative Expenses
                 3. Investor Identification:
                    Notice / Publishing Approved Plan
                    Claimant Identification
                    Claims Processing
                    Web Site Maintenance / Call Center
               4. Fund Administrator Bond
               5. Miscellaneous
               6. Federal Account for Investor Restitution
               (FAIR) Reporting Expense
               Total Plan Implementation Expenses                                                                                                ‐                               ‐
            Total Disbursements for Distribution Expenses Paid by the Fund                                                                       ‐                               ‐
Line 12     Disbursements to Court / Other:
  Line 12 a    Investment Expenses / Court Registry Investment
            System (CRIS) Fees
  Line 12 b    Federal Tax Payments
             Total Disbursements to Court / Other                                                                                               ‐
             Total Funds Disbursed (Lines 9 ‐11):                                                     44,001.85            1,377.63       45,379.48                    28,637,045.44
Line 13     Ending Balance (As of 06/30/2022):                                                    51,261,657.91       10,445,143.06                   61,706,800.97    61,706,800.97
                           Case 1:18-cv-02844-RDB Document 648 Filed 07/29/22 Page 2 of 2
                                                                                Gregory S. Milligan, Receiver
                                                                           P.O. Box 90099 Austin, TX 78709‐0099
                                                                                      (512) 892‐0803
                                                  STANDARDIZED FUND ACCOUNTING REPORT for Kevin B. Merrill et. al. ‐ Cash Basis
                                                                       Receivership/ Civil Court Docket No. RDB‐18‐2844
                                                                         Reporting Period 04/01/2022 to 06/30/2022
                                                                                                                    Deville Asset
                                                                                               Receivership      Management and                                                Case Total
                                                                                                Accounts         Riverwalk Holdings            Subtotal        Grand Total
Line 14     Ending Balance of Fund ‐ Net Assets:
  Line 14 a    Cash & Cash Equivalents                                                           51,261,657.91           10,445,143.06
  Line 14 b    Investments
  Line 14 c    Other Assets or Uncleared Funds
             Total Ending Balance of Fund ‐ Net Assets                                                                                                         61,706,800.97   61,706,800.97



Other Supplemental Information:

                                                                                                                    Deville Asset
                                                                                               Receivership      Management and
                                                                                                Accounts         Riverwalk Holdings            Subtotal        Grand Total     Case Total
              Report of Items NOT To Be Paid by the Fund:

Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
  Line 15 a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    IDC
                    Distribution Agent
                    Consultants
                    Legal Advisers
                    Tax Advisers
                2. Administrative Expenses
                3. Miscellaneous
               Total Plan Development Expenses Not Paid by the Fund                                                                                       ‐                              ‐
 Line 15 b      Plan Implementation Expenses Not Paid by the Fund:
                1. Fees:
                    Fund Administrator
                    IDC
                    Distribution Agent
                    Consultants
                    Legal Advisers
                    Tax Advisers
                 2. Administrative Expenses
                 3. Investor Identification:
                    Notice / Publishing Approved Plan
                    Claimant Identification
                    Claims Processing
                    Web Site Maintenance / Call Center
                 4. Fund Administrator Bond
                 5. Miscellaneous
                 6. FAIR Reporting Expenses
               Total Plan Implementationt Expenses Not Paid by the Fund                                                                                   ‐                              ‐
 Line 15 c     Tax Administrator Fees & Bonds Not Paid by the Fund
              Total Disbursements for Plan Administration Expenses Not Paid by the Fund                                                                   ‐                              ‐
Line 16       Disbursements to Court / Other Not Paid by the Fund:
  Line 16 a      Investment Expenses / CRIS Fees
  Line 16 b      Federal Tax Payments
              Total Disbursements to Court / Other Not Paid by the Fund:                                                                                  ‐                              ‐
Line 17       DC & State Tax Payments
Line 18       No. of Claims:
  Line 18 a      # of Claims Received This Reporting Period                                                                                                              ‐              ‐
  Line 18 b      # of Claims Received Since Inception of Fund                                                                                                            ‐              274
Line 19       No. of Claimants / Investors:
  Line 19 a      # of Claimants / Investors Paid This Reporting Period                                                                                                   ‐               ‐
  Line 19 b      # of Claimants / Investors Paid Since Inception of Fund                                                                                                 ‐               ‐




                                                                                                                 Receiver:
                                                                                                                 By:
                                                                                                                                         (signature)

                                                                                                                                         Gregory S. Milligan
                                                                                                                                         (printed name)

                                                                                                                                         Receiver


                                                                                                                 Date:
                                                                                                                                         July 29, 2022
